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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION



UNITED STATES OF AMERICA

     v.

GREGG SMITH,                             Case No. 19-cr-00669
MICHAEL NOWAK,
                                         Hon. Edmond E. Chang
JEFFREY RUFFO, and
CHRISTOPHER JORDAN,

                 Defendants.



          DEFENDANT GREGG SMITH’S MEMORANDUM OF LAW
                IN SUPPORT OF REQUEST TO EXCLUDE
                 PROPOSED GOVERNMENT EXHIBIT 84




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       Per the Court’s directive at the June 2, 2022, pretrial conference, Defendant Gregg Smith

respectfully submits this memorandum of law in support of his request to preclude the Government

from offering Proposed Government Exhibit 84 (“GX 84”) against him.

                                         ARGUMENT

       The Government claims that GX 84—a March 6, 2008, chat between co-defendant Jeffrey

Ruffo and third-party Christopher Pia regarding a Bear Stearns customer order—is admissible

against Mr. Smith for two purposes: (1) “as part of the substantive trading conduct with which he’s

been charged;” and (2) as “pre-conspiracy evidence” to show “manner or means and the origination

[of the conspiracy] and the relationship.” (June 2, 2022, Pretrial Conf. Tr. at 77:4–14, ECF No.

533.) GX 84 is neither relevant to the substantive counts against Mr. Smith nor admissible as pre-

conspiracy evidence. The Court therefore should preclude the Government from offering this

exhibit against Mr. Smith.

       First, the only substantive count against Mr. Smith that covers conduct dating back to

March 2008 is Count Three (attempted price manipulation). 1 The Government has stipulated that

it will prove the attempted price manipulation charge against Mr. Smith only through the specific

trading sequences alleged in Paragraph 30 of the operative indictment. (Gov’t Opp’n to Mot. to

Dismiss at 45 n.29, ECF No. 166; see also Gov’t Opp’n to Mot. to Dismiss Second Superseding

Indictment at 17, ECF No. 473 (“[T]he Government will prove [the attempted manipulation

charge] through the specific trading sequences alleged [in the operative indictment].”).) And the

Court relied on this stipulation in denying Defendants’ motions to dismiss this claim for lack of


1
 The Second Superseding Indictment alleges that the relevant period for Count Three (attempted
price manipulation) begins in January 2008, that the relevant period for Counts Five through
Twelve (wire fraud affecting a financial institution) begins in May 2008, that relevant period for
Count Twenty Four (commodities fraud) begins in May 2009, and that the relevant period for
Count Twenty Six (spoofing) begins in July 2011. (ECF No. 448.)



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specificity. (Order at 28 n.12, ECF No. 374 (“[T]here is no reason to dismiss the counts for lack

of specificity, given the government’s stipulation . . . that the attempted price manipulation counts

will be proved via the specific trading sequences alleged in [the operative indictment].”) The

Government should be held to its stipulation. GX 84 does not relate to any of the specific trading

sequences alleged in the Second Superseding Indictment and therefore cannot be offered by the

Government in support of Count Three. And GX 84 is irrelevant to the other substantive counts

against Mr. Smith because it predates the conduct alleged in those counts.2

       Second, the statements in GX 84 are inadmissible as “pre-conspiracy evidence” against Mr.

Smith because they do not fall within the coconspirator hearsay exclusion under Federal Rule of

Evidence 801(d)(2)(E).3 Putting aside the fact that Christopher Pia is not an alleged coconspirator,

the statements all pre-date the alleged conspiracy, and “[s]tatements by coconspirators made either

before the formation of a conspiracy or after its termination are not admissible under the

coconspirator hearsay exception.” United States v. Coe, 718 F.2d 830, 840 (7th Cir. 1983)

(concluding that pre-conspiracy statements should not have been admitted against coconspirator

under coconspirator exception); see also United States v. Curry, 977 F.2d 1042, 1057 (7th Cir.

1992) (“statements that occurred either before the beginning of the alleged conspiracy or after its

end . . . could not be in furtherance of a conspiracy not in existence, and thus were not admissible

under Rule 801(d)(2)(E).”). Rule 801(d)(2)(E) requires that the statement be made “during” the

conspiracy. And since the “in furtherance” “limitation is meant to be taken seriously,” a statement


2
  For the same reasons, GX 463 is also irrelevant to the substantive counts against Mr. Smith and
is thus inadmissible for that purpose.
3
  Whether the pre-conspiracy conduct referenced in GX 84 (and allegedly depicted in GX 463) is
admissible under Federal Rule of Evidence 404(b) is a separate issue that is being briefed by the
Government in the first instance. (Tr. at 77-78.) Mr. Smith disputes that this is proper Rule 404(b)
evidence and will respond to the Government’s submission, which is being filed today.




                                                 2
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made while a conspiracy is not in existence cannot be in furtherance of that conspiracy. United

States v. Bills, No. 14-CR-135, 2016 WL 4366546, at *7 (N.D. Ill. Aug. 16, 2016) (internal

quotation marks omitted).      Here, the Government acknowledges that the communication

memorialized in GX 84 pre-dates the conspiracy (Pretrial Conf. Tr. at 77:8 (referring to it as “pre-

conspiracy evidence”)); accordingly, it is not admissible against Mr. Smith as a coconspirator

statement under Federal Rule of Evidence 801(d)(2)(E). 4

                                         CONCLUSION

       For the foregoing reasons, the Government should be precluded from offering GX 84

against Mr. Smith.



Dated: June 9, 2022

                                              Respectfully submitted,


                                               /s/ Sean Buckley
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4
 To the extent the Government intends to argue that certain of Mr. Pia’s statements are non-hearsay
for other reasons (e.g., imperatives), they remain inadmissible because they are not relevant for
the reasons set forth above.




                                                 3
